              Case 1:16-cv-11547-DPW Document 88 Filed 06/06/22 Page 1 of 5



                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF MASSACHUSETTS

ARcare, Inc., on behalf of itself and all       )
others similarly situated,                      )
                                                )      CIVIL ACTION NO.
                         Plaintiffs,            )      16-11547-DPW
                                                )
v.                                              )
                                                )
CYNOSURE, INC.,                                 )
                                                )
                         Defendant.             )


                          FINAL APPROVAL ORDER AND JUDGMENT
                                       June 6, 2022

            The Parties’ proposed class action settlement coming before the Court for a fairness

     hearing on July 11, 2019, at which all persons were given an opportunity to be heard; the Court

 subsequently holding hearings on May 20, 2021 and May 26, 2022; and the Court considering the

 submissions of the Parties, including Plaintiff’s Motion for Final Approval of Class Action

 Settlement, the statements of counsel, and the fairness of the settlement’s terms,

 IT IS HEREBY ORDERED THAT:

            1.     This Court grants final approval on the basis of the Second Amended

 Settlement Agreement and Release, submitted June 3, 2022 [Dkt. No. 86] including, but not

 limited to, the releases therein, and finds that the settlement is fair, reasonable, and adequate,

 and in the best interests of all those affected by it. No person submitted any objection to the

 settlement or appeared at the noticed final approval hearing to object to it. Accordingly, this

 Final Judgment and Order binds all members of the Class who did not opt out.

            2.     This Court has jurisdiction over Plaintiff ARcare, Inc., the members of the

 Settlement Class, Defendant Cynosure, Inc., and the claims asserted in this lawsuit.

            3.     This Court finds that the Parties entered into the Settlement Agreement and

     Release as amended in good faith, following arm’s-length negotiations, and that it was not

     collusive.
         Case 1:16-cv-11547-DPW Document 88 Filed 06/06/22 Page 2 of 5



                                  CLASS CERTIFICATION

       4.      On March 14, 2019, pursuant to Federal Rule of Civil Procedure 23, the Court

entered an order entitled, “Order Authorizing Notice and Preliminarily Certifying Settlement

Class” (the “Notice Approval and Preliminary Certification Order”).

       5.      The Notice Approval and Preliminary Certification Order certified the following

class solely for purposes of settlement: “All persons or entities who were sent one or more

facsimile transmissions advertising the availability or quality of property, goods, or services of

Cynosure from July 27, 2012 through March 13, 2019” (the “Settlement Class”). In the

Settlement Agreement and Release as amended, the Parties agreed that this is a proper class

definition solely for purposes of settlement. Excluded from the Settlement Class are (a) all

current employees, officers, and directors of Cynosure; and (b) the undersigned Judge presiding

over this Action and his staff. Also excluded from the Settlement Agreement and Release as

amended are those Settlement Class Members who timely submitted written requests for

exclusion to the Settlement Administrator.

       6.      The Notice Approval and Preliminary Certification Order also appointed Plaintiff

as the Class Representative and appointed attorneys Phillip A. Bock of Bock Hatch &

Oppenheim, LLC, Randall K. Pulliam of Carney Bates & Pulliam, PLLC, and Alan L. Cantor of

Swartz & Swartz, P.C. as Class Counsel.

                                       CLASS NOTICE

       7.      Plaintiff submitted the affidavit of Zachary Cooley to demonstrate that the

“Notice of Class Action Settlement” (the “Notice”) was sent to the members of the Settlement

Class as ordered in the Notice Approval and Preliminary Certification Order. The Court

finds that the Notice and the process by which it was sent complied with the requirements of

Federal Rule of Civil Procedure 23 and due process under the United States Constitution,
                                               2
           Case 1:16-cv-11547-DPW Document 88 Filed 06/06/22 Page 3 of 5



 constituted the best notice practicable under the circumstances, and was due and sufficient

 notice to all persons entitled to notice of the settlement of this lawsuit.

                                 OBJECTIONS AND OPT OUTS

         8.      No member of the Settlement Class filed an objection to the settlement.

         9.      There are eight persons who have requested exclusion and are hereby excluded

 from the Settlement Agreement and Release as amended. They are: Gao Medical, PLLC; Scott

 W. Barttelbort, M.D.; Raincross Medical Center of Dermatology and Cosmetic Surgery; Center

 for Special Minimally Invasive & Robotic Surgery; Palouse Specialty Physicians; St. Joseph’s

 Ear, Nose & Throat Clinic, PLLC; Robinson Family Clinic; and Manhattan Medical Clinic.

                                    CLASS COMPENSATION

         10.     Defendant has made available $8,500,000.00 (the “Settlement Fund”) to pay cash

 compensation to the Settlement Class, to pay a service award to Plaintiff for serving as the Class

 Representative (which Plaintiff has elected to waive), to pay Class Counsel’s attorneys’ fees and

 reasonable out-of-pocket expenses as ordered by the Court, and to pay for the expenses of

 settlement administration.

         11.     As the Parties agreed in the Settlement Agreement and Release as amended, each

member of the Settlement Class who submitted a timely and valid Proof of Claim Form will be paid

a pro rata share of the remaining Settlement Fund after deduction of Class Counsel’s attorneys’

fees and reasonable out-of-pocket expenses and the expenses of settlement administration. The

distribution of funds to class members will take place as follows: First, a check in the amount of

$500.00 will be sent to each approved claimant who has provided the requisite tax information to

the Settlement Administrator. The Court authorizes the Settlement Administrator to collect Form

W9 tax information as warranted. The Settlement Administrator will cause claimants’ checks to be

mailed no later than July 13, 2022. As agreed between the Parties, checks issued to the eligible
                                                 3
           Case 1:16-cv-11547-DPW Document 88 Filed 06/06/22 Page 4 of 5



members of the Settlement Class will be void as of January 9, 2023. Second, after the void date

following initial check distributions, the Court will determine whether a second distribution of

remaining funds in the Settlement Fund should be undertaken, and determine and award attorneys’

fees and expenses and any further cost reimbursement to the Settlement Administrator. The

hearing with respect to any second distribution, award of attorneys’ fees, and any further cost

reimbursement to the Settlement Administrator shall be held at 2:30 p.m. on January 31, 2023.

          12.   Pursuant to the Parties’ agreement, the Court approves the payment of costs of

 $223,295.03 to date for settlement administration by the Settlement Administrator.

                                  RELEASES AND DISMISSAL

          13.    All claims or causes of action of any kind by Plaintiff and all members of the

 Settlement Class who have not requested exclusion are forever barred and released pursuant to

 the terms of the releases set forth in the Settlement Agreement and Release as amended.

          14.    This lawsuit is dismissed with prejudice as to Plaintiff and all members of the

 Settlement Class (except that the dismissal is without prejudice as to those persons identified

 above who submitted valid requests for exclusion), and without fees or costs except as provided

 above.

                                      OTHER PROVISIONS

          15.    The Court adopts and incorporates all of the terms of the Settlement

 Agreement and Release as amended by the Second Amended Agreement and Release

 entered into June 3, 2022 (“The Agreement”) by reference here.

          16.    Defendant is hereby enjoined from sending advertising faxes that do not comply

 with the Telephone Consumer Protection Act, 47 U.S.C. §§227, et seq., and any regulatory

 rulings promulgated thereunder by the Federal Communications Commission, for as long as


                                                   4
         Case 1:16-cv-11547-DPW Document 88 Filed 06/06/22 Page 5 of 5



that Act, and/or any such regulation or declaratory ruling is effective.

       17.     This Court retains continuing jurisdiction over this action, Plaintiff, all members

of the Settlement Class, and Defendant to determine all matters relating in any way to this Final

Judgment and Order, the Preliminary Approval Order, or the Settlement Agreement and Release

as amended, including, but not limited to, their administration, implementation, interpretation, or

enforcement.

       18.     The parties to the Settlement Agreement and Release as amended shall carry

out their respective obligations thereunder.

       19.     The Court finds that there is no just reason to delay the enforcement of or appeal

from this Final Approval Order and Judgment.



                                                      /s/ Douglas P. Woodlock_______
                                                      DOUGLAS P. WOODLOCK
                                                      UNITED STATES DISTRICT JUDGE




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